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|N THE UN|TED STATES D|STR|CT COURT
FOR THE D|STR|CT OF DELAWARE

CHR|STOPHER DES|V|OND and
JOSEPH M. WALLS,

)
)
Plaintiffs1 §

v. § Civ. No. 12-1120-SLR
PERRY PHELPSl et al., §

Defendants. §

MEMORANDUM

1. |ntroduction. Plaintiffs Christopher Desmond (“Desmond”) and Joseph lVl.
Walls (“Wal|s") (together “plaintiffs”), inmates at the James T. Vaughn Correctional
Center (“VCC"), Smyrna, De|aware, filed this lawsuit pursuant to 42 U.S.C. § 1983 and
the Religious Land Use and lnstitutionalized Persons Act (“RLU|PA"). Desmond
proceeds pro se and Walls is represented by counse|. Pending are several motions
filed by Desmond. (D.l. 280, 284, 291)

2. Background. Plaintiffs, who are Catho|ic, were two of several plaintiffs
named in Civ. No. 12-1120-SLR, a case that raised religious discrimination claims
based upon Muslim, Catho|ic, and Jewish faiths. On |Vlarch 23, 2015, defendants
moved to sever plaintiffs' claims from those of the other plaintiffs in Civ. No. 12-1120-
SLR. (D.l. 197) The court granted the motion on Apri| 22, 2015. (See D.|. 207, 208)
Desmond and Wa|ls are the remaining plaintiffs in this action.

3. Motion for Sanctions. Desmond moves for the imposition of Ru|e 11
sanctions against defendants (D.l. 280) The motion seeks injunctive relief, raising

issues regarding the practice of religion. On l\/lay 24l 2016l plaintiffs were placed on

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notice that filings seeking injunctive relief regarding the practice of religion, an issue that
has been discussed repeated|y, would be docketed, but not considered. (See D.|. 270,
|Vlay 24, 2016 order) This motion appears to be an attempt to skirt that order. The
motion does not meet the requisites for Ru|e 11 sanctions and, further, sanctions are
not warranted See Fed. R_ Civ. P. 11(c). Therefore, the motion will be denied.

4. Requests for Counsel. On December 6, 2016, the court granted Wa|ls’
requests for counse|, noting that he had been granted in forma pauperis status. (See
D.|. 277) Wal|s is now represented by counsel. Desmond requests counsel on the
grounds that, as a result of the February 2017 hostage incident at the VCC, he is
housed in solitary confinement, he is denied law library access, an attorney would
assist in settlement of the matter, and he is at an disadvantage given that Wa|ls is now
represented by counsel (D.l. 284, 291)

5. Pursuant to 28 U.S.C. § 1915(e)(1), the court may request an attorney to
represent any personal unable to afford counsel. Section 1915(e)(1) confers the district
court with the power to request that counsel represent a litigant who is proceeding in
forma pauperis To date, Desmond has not sought in forma pauperis status and there
has been no finding of indigency i-ience, Desmond does not qualify for counsel under
§ 1915. Therefore, the court will deny the requests without prejudice to renew upon a
finding of Desmond’s indigency (D.l. 284, 291)

6. Conc|usion. For the above reasons the court will: (1) deny Desmond’s
motion for sanctions (D.i. 280); and (2) deny without prejudice to renew Desmond’s
requests for counsel (D.l. 284, 291). A separate order shall issue.

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